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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.         CV 19-1270-JFW(AGRx)                                                Date: May 10, 2019

Title:           Timothy Dawson -v- American Express National Bank


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                                 None Present
                 Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                   None

PROCEEDINGS (IN CHAMBERS):                 ORDER OF DISMISSAL

        In the Notice of Settlement filed on May 9, 2019, Dkt. No. 14, the parties represent that they
have settled this action. As a result, the Court dismisses this action without prejudice subject to
either party reopening the action on or before June 10, 2019. The Court will retain jurisdiction for
the sole purpose of enforcing the settlement until June 10, 2019. Thereafter, absent further order
of the Court, the dismissal of this action will be with prejudice. All dates in this action, including the
trial date are vacated.

         IT IS SO ORDERED.




                                                                                    Initials of Deputy Clerk sr

(Rev. 1/14/15)
